  Case 1:21-cv-00217-HSO-BWR               Document 250         Filed 02/28/25      Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION


CATINA PARKER, as Personal Representative
of the Estate of Leonard Parker, Jr., deceased                                          PLAINTIFF



VERSUS                                            CIVIL ACTION NO. 1:21CV00217-HSO-BWR



The CITY OF GULFPORT, a municipal
corporation; JASON CUEVAS, in his individual
and official capacity; and JOHN DOE OFFICERS
#1-5 in their official and individual capacities                                   DEFENDANTS




   MEMORANDUM OF AUTHORITIES OF CITY OF GULFPORT, MISSISSIPPI IN
         SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       COMES NOW the City of Gulfport, Mississippi (“City”), identified in the Complaint as a

Defendant, by and through its undersigned attorneys, and submits this its “Memorandum of

Authorities in Support of Its Motion for Summary Judgment” pursuant to FED. R. CIV. P. 56

(“Motion for Summary Judgment”).

                                       I. INTRODUCTION

       Plaintiff, Catina Parker (“Plaintiff”) filed her original “Complaint” with this Honorable

Court on June 23, 2021. In this pleading, Plaintiff identified the City, Jason Cuevas, a Gulfport

Police Officer (“Officer Cuevas”), and “John Doe Officers #1-5 (sic)” as Defendants. Plaintiff

specifically has asserted (as it appears in the caption heading and style of this suit in each and

every one of the four (4) versions of her Complaint filed to date in this matter) that she is before

the Court as the “personal representative of the Estate of Leonard Parker, Jr., deceased.”

According to Plaintiff’s Complaints, the incident that gave rise to Plaintiff’s claims occurred on
  Case 1:21-cv-00217-HSO-BWR               Document 250         Filed 02/28/25      Page 2 of 14




February 1, 2020, when Leonard Parker (“Parker”), who was driving a truck and was admittedly

intoxicated at the time (in excess of the legal limits for operation of a motor vehicle in

Mississippi), was shot as he was driving a truck in the direction of Officer Cuevas while the

Officer was in uniform and with his police flashlight looking for the address that was the source

of an emergency call regarding a “drunk and disorderly” call that requested a law enforcement

response.1

       Plaintiff has filed three (3) amended versions of her initial Complaint over the course of

the past three (3) and a half years this case has been pending.2 In all of Plaintiff’s pleadings, she

claims to be asserting a federal law claim against Officer Cuevas for “excessive force” under 42

U.S.C. § 1983 (“Count 1” in the Complaint) and “state law claims” against Officer Cuevas and

the City for “wrongful death” (“Count 2” in the Complaint), “survival” (“Count 3” in the

Complaint), and “violation of the Mississippi Tort Claims Act” (“Count 4” in the Complaint).3

       As the basis for her claims in this proceeding, Plaintiff specifically asserts that Officer



       1
         This call was made by one of the attendees at a birthday party, where Parker was in
attendance and where alcohol was being served and consumed by many of the guests, including
Parker. (MBI Case File Report, Bates Nos. 2, 9, 1314, 16, 19 ([Doc. 132-1]); Deposition (“DP”)
of Tremaine Markray, pp. 68-73 ([Doc. 132-13]). One of the guests (Markray) had become
belligerent, obnoxious, and aggressive toward several of the other guests at the party, including
his own girlfriend. His behavior and conduct motivated one of the guests at the party to call and
ask for police assistance with the escalating situation. (MBI Case File Report, Bates Nos. 102-03
([Doc. 132-1]); 911 Call ([Docs. 132-2, 134]); DP Markray, pp. 46-49, 68-69, 73-76 ([Doc. 132-
13]).
       2
         As an initial matter, all of the different versions of the Complaint do not adequately
assert or demonstrate that Plaintiff has proper standing and capacity to be pursuing the claims
herein on behalf of the Estate (or on behalf of anyone else). Nothing has been presented to the
Court to demonstrate the established “heirs” of Leonard Parker, Jr., deceased, and approval of a
Court for her to pursue claims on their behalf. Again, no matter which version of the Complaint
is inspected – all filed over the past three (3) and a half years that this case has been pending,
there has been nothing presented to substantiate these requisite jurisdictional elements.

       The latest filed amended version of Plaintiff’s “Complaint” is styled “Third Amended
       3

Complaint at Law” [Doc. 141] and was filed on November 3, 2023.
                                                  2
  Case 1:21-cv-00217-HSO-BWR               Document 250          Filed 02/28/25      Page 3 of 14




Cuevas “violated” City policies that prohibited the type of force used by Officer Cuevas with

respect to Parker and that Officer Cuevas was properly trained by the City in conjunction with

this prohibition. Stated differently, Plaintiff asserts that Officer Cuevas violated City policies

and training in utilizing unconstitutional force against Parker. Notably, Plaintiff has confessed

she is not asserting a claim against the City under federal law.

       Instead, Plaintiff contends she is asserting “state law” claims against the City for

“wrongful death,” “survival,” “violations” of the Mississippi Tort Claims Act (“MTCA”), and is

entitled to compensatory damages, punitive damages, and attorney’s fees (under state law).

       In an effort to be as concise as possible and with an eye toward judicial efficiency and

economy of resources, the City hereby adopts and incorporates the factual background utilized

by Officer Cuevas in his “Motion for Partial Summary Judgment on the Claim for Punitive

Damages” [Doc. 238] and in his “Motion for Summary Judgment” [Doc. 240] and in the

“Memorandum Briefs” submitted by Officer Cuevas in support of both of these Motions [Docs.

239, 241]. The entirety of these background facts will not be repeated from these Memoranda

but are adopted and incorporated as if set out herein.

       Suffice it to say, all of Plaintiff’s “state law” claims asserted against the City in this

action are subject to the MTCA and under this Act, the City is exempt (immune) from liability.

Ultimately, Plaintiff has failed to discharge her burden of overcoming the City’s entitlement to

immunities under Miss. Code Ann. § 11-46-9(1) and, since there are no genuine issues of

material fact in connection with the same, her claims under the MTCA are without legal (or

factual) basis, and the City is entitled to summary judgment in accordance with FED. R. CIV. P.

56.




                                                  3
  Case 1:21-cv-00217-HSO-BWR               Document 250         Filed 02/28/25       Page 4 of 14




                                   II. LAW AND ARGUMENT

       A. PLAINTIFF’S STATE LAW CLAIMS AND THE MTCA

       All claims for damages for any injury asserted under state law in Mississippi against a

governmental entity, such as the City, are required to be pursued under Mississippi’s “Tort

Claims Act” (the “MTCA”). See Miss. Code Ann. § 11-46-7(1). As Miss. Code Ann. § 11-46-

7(1) holds:

       [t]he remedy provided by this chapter against a governmental entity or its
       employee is exclusive of any other civil action or civil proceeding by reason of
       the same subject matter against the governmental entity or its employee or
       the estate of the employee for the act or omission which gave rise to the claim
       or suit; and any claim made or suit filed against a governmental entity or its
       employee to recover damages for any injury for which immunity has been waived
       under this chapter shall be brought only under the provisions of this chapter,
       notwithstanding the provisions of any other law to the contrary.

(Emphasis added).

               1. “Wrongful Death,” “Survival,” and Statutory Immunity

       Firstly, contrary to Plaintiff’s apparent belief, all tort claims brought against a

governmental entity in Mississippi fall within the scope of the MTCA. There can be no separate

actions for “wrongful death” or “survival” (outside of the MTCA) and “violations” of the

MTCA, as is alleged in all of the different versions of Plaintiff’s Complaint. Under the MTCA, a

municipal corporation and its employees who are engaged in the performance or execution of

duties or activities relating to “police protection” are sovereignly immune from suits arising out

of the alleged acts or omissions attributed to the City or its employees unless such employees

acted in reckless disregard of the safety and well-being of a person not engaged in criminal

activity at the time of the alleged injury. See Miss. Code Ann. § 11-46-9(1)(c). In the case at

hand, there is no question that Officer Cuevas was engaged in duties relating to police protection

at the time of the incident sued upon and all versions of the Complaint admit to this. Again, he


                                                  4
  Case 1:21-cv-00217-HSO-BWR                 Document 250        Filed 02/28/25    Page 5 of 14




was a certified law enforcement officer with the Gulfport Police Department, on duty, and in

uniform and had been dispatched to respond to this area in response to an emergency call made

to Gulfport Police by one of the party’s guests. The burden to overcome such immunity is on

the Plaintiff. See Simpson v. City of Perkins, 761 So. 2d 855, 857 (Miss. 2000). In the case sub

judice, Plaintiff cannot discharge this burden. See Miss. Code Ann. § 11-46-9(1)(c).

                 2. Criminal Activity

       As referenced above, § 11-46-9(1)(c) expressly holds that a governmental entity is

exempt from liability arising out of acts or omissions of employees acting engaged in the

performance or execution of duties or activities relating to police protection associated with

someone engaged in criminal activity.4 In Mississippi, the operator of a motor vehicle is

engaged in criminal activity if they are impaired. An individual is in violation of Miss. Code

Ann. § 63-11-30(1)(a) if there is sufficient evidence that the person operated a vehicle under

circumstances indicating their ability to operate the vehicle was impaired by the consumption of

alcohol. See Leuer v. City of Flowood, 744 So. 2d 266, 268 (Miss. 1999) (citing Miss. Code

Ann. § 63-11-30(1)(a)). In Leuer, the Mississippi Supreme Court found that the following was

sufficient for a jury to find a defendant guilty of DUI (under this statute) beyond a reasonable

doubt: “[s]everal witnesses testified to the presence of alcohol, including beer cans and a




       4
           Specifically, § 11-46-9(1) and (1)(c) read together state as follows:

   “(1) A governmental entity and its employees acting within the course and scope of
   their employment or duties shall not be liable for any claim:

                                            ****
       (c) Arising out of any act or omission of an employee of a governmental entity
   engaged in the performance or execution of duties or activities relating to police or
   fire protection unless the employee acted in reckless disregard of the safety and well-
   being of any person not engaged in criminal activity at the time of injury.”

                                                    5
   Case 1:21-cv-00217-HSO-BWR             Document 250         Filed 02/28/25     Page 6 of 14




partially consumed bottle of vodka in [the defendant’s] vehicle and inside of his vehicle smelled

of alcohol. Finally, four hours after the wreck, [the defendant’s] blood alcohol content was

.07%.” Id., at 268.

        In the case at bar, witnesses have testified that Parker had been consuming alcohol at the

party prior to attempting to leave in his truck. Also, Parker backed up his truck and struck a mail

box on the opposite side of the street as he was attempting to back out of the front yard of the

house where the party was being held. (DP Officer Jason Cuevas, pp. 42-45, 47, 55-57 ([Doc.

132-14]). In addition to this, the Toxicology Report conducted as part of the official autopsy

following this incident determined that Parker’s blood alcohol content was 0.18%. See Exhibit

“E.” There is no question that Parker was engaged in criminal activity (in violation of Miss.

Code Ann. § 63-11-30(1)(a)) while he was attempting to leave the party in his truck (a motor

vehicle) when he encountered Officer Cuevas (while operating the motor vehicle on a City

street).5

        Under these facts, though, Parker was also in violation of Miss. Code Ann. § 63-11-

30(1)(d), which makes it a criminal violation for one to have a blood alcohol content as shown

by chemical analysis of the person’s “breath, blood or urine” that equals or is in excess of .08%

(based upon “grams of alcohol per one hundred (100) milliliters of blood, or grams of alcohol

per two hundred ten (210) liters of breath”) for a “person who is above the legal age to purchase

alcoholic beverages under state law.”6 Again, the Toxicology Report demonstrates that Parker’s



        5
          According to Miss. Code Ann. § 63-11-30(2), the violation of any of the provisions in
this statute constitutes a crime in Mississippi, the severity of which depends on whether the same
amounts to a “first,” “second,” “third,” or “fourth” or subsequent offense.
        6
        There is no question that Parker, who was 53 years of age on February 1, 2020, was
above the legal age to purchase alcoholic beverages under Mississippi law at that time.


                                                 6
  Case 1:21-cv-00217-HSO-BWR              Document 250         Filed 02/28/25      Page 7 of 14




blood alcohol content post-incident here was 0.18%, which was more than twice the legal

limit. See Exhibit “E.”

       No matter which statute is used or analyzed, Parker was engaged in criminal activity at

the time of the incident sued upon.7 Under § 11-46-9(1)(c), the City is statutorily exempt from

liability (immune), and Plaintiff’s state tort claim against the City must be dismissed.

               3. Plaintiff’s Claim that Officer Cuevas’ Acts are in Violation of City
                  Policies and Training.

       Plaintiff has further specifically asserted in this case that Officer Cuevas’ acts and

omissions were in violation of City policies and in violation of the training he received from

the City. See Exhibit “D,” p. 12. Plaintiff’s Fourth Amended Complaint [Doc. 141] asserts the

following:

       “D. Defendant Cuevas used deadly force in violation of City of Gulfport’s policies.

       123. Prior to using deadly force against Mr. Parker [(the decedent)], Defendant
            Cuevas had received training from the City of Gulfport on the proper use of
            force.

       124. Defendant Cuevas used deadly force against Mr. Parker despite his knowledge
            of the City of Gulfport’s policies and procedures on the use of force.

       125. The City of Gulfport’s policy on the use of force allows officers to use only
            the level of force that is reasonably necessary to stop the perceived threat.

       126. The City of Gulfport’s policy on the use of force authorizes police officers to
            use deadly force in only two situations 1) to defend themselves or others
            against serious threats of serious bodily injury or death, or 2) to stop
            dangerous felony flight, where there is serious imminent risk to the public of
            death or serious bodily injury.



       7
         In addition, Officer Cuevas had given verbal commands to Parker to “stop” and Parker’s
refusal to adhere to the lawful commands of a law enforcement officer were in criminal violation
of Miss. Code Ann. §§ 63-3-203 and 97-35-7, which demonstrate yet another finding that Parker
was engaged in criminal activity at the time of this incident and that the City is statutorily
immune under § 11-46-9(1)(c). Moreover, Section 63-3-1112 of the Mississippi Code imposes a
duty on a driver to avoid a collision with a pedestrian.
                                                 7
  Case 1:21-cv-00217-HSO-BWR               Document 250         Filed 02/28/25      Page 8 of 14




       127. The City of Gulfport’s policy on the use of force prohibits officers from using
            deadly force to effect the arrest of a misdemeanor offender.

       128. The City of Gulfport’s policy on the use of force prohibits officers from using
            deadly force when it appears likely that an innocent person may be injured
            except in a situation that is imminently life threatening to the officer or
            another.

       129. The City of Gulfport’s policy on the use of force prohibits officers from using
            deadly force on a person who simply flees or evades arrest.

       130. The City of Gulfport’s policy on the use of force prohibits officers from using
            deadly force at a moving vehicle that does not pose an imminent risk of death
            or serious bodily injury.”

See Exhibit “D,” p. 12. By specifically basing her claims on such detailed allegations, Plaintiff

cannot have her cake and eat it to by trying to say that Officer Cuevas was “in the course and

scope” of his employment on one hand, while saying on the other hand that he was “outside” of

complying with his training and in violation of policies and orders that governed his

employment. It is clear from these detailed assertions that Plaintiff herself has made in all four

(4) versions of her Complaint that Officer Cuevas was not acting in compliance with the policies,

orders, and training that governed his employment. As a result, the City cannot be held liable for

acts and omissions attributed by Plaintiff to Officer Cuevas, as there is no vicarious liability that

can legally be attributed to the City.

               4. No Evidence of Reckless Disregard

       Plaintiff asserts the City is liable because Officer Cuevas’ “actions” were “committed

with reckless disregard (footnote omitted) to the safety and well-being of [Parker]….” See

Exhibit “D,” p. 17. Again, a law enforcement official (and his employer) is sovereignly immune

from suits arising out of his alleged acts or omissions unless such official acted in reckless

disregard of the safety and well-being of a person not engaged in criminal activity at the time of

the alleged injury. See Miss. Code Ann. § 11-46-9(1)(c). “Reckless disregard” is defined by


                                                  8
  Case 1:21-cv-00217-HSO-BWR               Document 250       Filed 02/28/25      Page 9 of 14




Mississippi Courts as a standard that is higher than “gross negligence” and one that embraces

“willful or wanton conduct which requires knowingly and intentionally doing a thing or

wrongful act.” Collins v. Tallahatchie County, 876 So. 2d 284, 287 (Miss. 2004) (citing Turner

v. City of Ruleville, 735 So. 2d 226, 230 (Miss. 1999)). There is nothing to demonstrate any

“willfulness” or “wantonness” with respect to Officer Cuevas’ actions involving Parker. In fact,

and as demonstrated by what has been presented to the Court by way of Officer Cuevas (in his

“Motion” and supporting “Memorandum Brief” [Docs. 240, 241], Officer Cuevas’ objective was

to use what force he could to thwart what he observed to be a threat against his life (with

Parker’s vehicle moving toward the Officer). The Court is referred to Officer Cuevas’

“Memorandum Brief” [Doc. 241] in support of his “Motion for Summary Judgment” [Doc. 240],

which provides a detailed account of what Officer Cuevas observed and encountered and his

actions in response to the same that led up to the incident in question occurring. It cannot go

unnoticed that from the moment Officer Cuevas left his police vehicle until when the incident

occurred was an extremely short period of time that was filled with a rapidly evolving fact

pattern and one in which Officer Cuevas’ senses were heightened due to the circumstances

(responding at night to a domestic call involving alcohol and a belligerent individual). Officer

Cuevas was there in response to an emergency call placed by one of the party’s guests regarding

a belligerent and assaultive individual.

       The street was dark and Officer Cuevas used his flashlight to illuminate and verify

address numbers so that he could find the location of the house party that had made the

emergency call to police. (DP Cuevas, pp. 42-45, 47, 55-57 ([Doc. 132-14]). As he did so, there

was a commotion ahead of him that became louder, and he then noticed a dark colored truck

backing out from the north side of 25th Street from what he thought was a driveway. Officer

Cuevas saw the dark colored truck back directly across the street and into a mailbox located on

                                                 9
  Case 1:21-cv-00217-HSO-BWR              Document 250        Filed 02/28/25      Page 10 of 14




the south side of the street (the Michelle Desroche residence at 213 25th Street). It appeared to

him that the truck was leaving from the residence that had reported the “drunk and disorderly”

male. (Id., pp. 48-52, 64, 70). In response, Officer Cuevas started to walk toward the truck to

make contact with its driver, thinking that the driver was going to stop since his truck had just

struck a mailbox. (Id., pp. 71-73). While he approached the truck, he shined his flashlight at it

to get the driver’s attention. (Id., p. 78). Cuevas did not know at this point what had occurred in

the house or whether the driver of the truck was actually the subject of the 911 call. Drawing on

his law enforcement experience and training, Officer Cuevas felt that the scene needed to be

secured to determine not only the facts of the call but whether a crime had been committed. (Id.,

pp. 42, 45, 49, 78).

       While Officer Cuevas was in the middle of the street and on a path to the truck that had

just struck a mailbox, this vehicle pulled forward from the mailbox, straightened out and then

began to proceed eastbound on 25th Street, now angling in the direction of Officer Cuevas. (DP

Cuevas, pp. 76-78 ([Doc. 132-5]). Officer Cuevas quickly activated the strobe feature on his

flashlight and also removed his firearm from the holster to utilize the weapon light, all in an

effort to get the driver’s attention, as the Officer reasonably assumed that the driver would see

him and would stop. (Id., pp. 78-79, 102-103, 145-46). Officer Cuevas also identified himself

as the “police” and gave several commands for the truck driver to “stop the vehicle,” yelling in

a loud voice: “Stop the vehicle! Stop the vehicle! Police! Stop the vehicle!” (Id., pp. 81-82,

103, 141). Despite the Officer’s visible presence and loud verbal commands, the truck did not

stop and continued to drive towards Officer Cuevas. The headlights became brighter as the truck

tracked closer and closer to the Officer and Officer Cuevas heard the engine rev up and appeared

to pick up speed in his direction, which he perceived was faster than 5 mph. (Id., pp. 82-83, 103,

141, 146).

                                                 10
  Case 1:21-cv-00217-HSO-BWR             Document 250         Filed 02/28/25      Page 11 of 14




       When it became apparent to him that the truck was not slowing, Officer Cuevas tried to

back peddle away from the middle of the road to the south side of the road, which was closer at

that point in time. (Id., pp. 92-94 and Ex. 49 to DP). The headlights of the truck were very bright

and followed Officer Cuevas towards the south side of the road. The Court is directed at this

point to the simulation video previously produced by Officer Cuevas as an attachment to his

Affidavit affixed as Doc. 132-8 (Exhibit to his Affidavit in support of the prior summary

judgment on qualified immunity). This simulation demonstrates what Officer Cuevas saw from

the time that Parker’s truck backed into the mailbox and then pulled forward and eastbound on

25th Street toward Officer Cuevas, until the truck had come to a stop on the south side of the

road, with its front passenger wheel now on the grass along the south side of 25th Street and its

driver side wheel on the pavement. Cuevas believed that the truck constituted a threat of harm

or death to himself and he fired his service weapon in response toward the driver.

       The record is devoid of anything to show that Officer Cuevas intentionally discharged his

duty weapon at a vehicle that was not perceived by him to be driving toward him and a threat to

his life. In fact, the record physical evidence demonstrates that Parker’s truck had driven at

Officer Cuevas and was moving toward him up until Officer Cuevas discharged his duty weapon

in response. Again, this incident occurred at night on a dimly lit street and involved persons who

had consumed significant amounts of alcohol and whose intentions were unknown by the Officer

(nor could they be known by him under the circumstances). As demonstrated, there is nothing to

show that Officer Cuevas acted “maliciously” or “wantonly” here. Consequently, the City is

immune from any liability under § 11-46-9(1)(c).8




       8
         The City reserves and does not waive any other immunities to which it may be entitled
or afforded under Miss. Code Ann. § 11-46-9(1).
                                                11
  Case 1:21-cv-00217-HSO-BWR              Document 250         Filed 02/28/25      Page 12 of 14




               5. Punitive Damages are Excluded

       Plaintiff purports to assert a “state law” claim against the City for “punitive damages.”

See Exhibit “D,” p. 17. However, Miss. Code Ann. § 11-46-15(2) expressly holds that “[n]o

judgment against a governmental entity or its employee for any act or omission for which

immunity is waived under this chapter shall include an award for exemplary or punitive

damages….” Miss. Code Ann. § 11-46-15(2) (emphasis added). Accordingly, Plaintiff’s

attempt to pursue a claim for relief for “punitive damages” under the MTCA against the City

must be dismissed.

               6. Attorneys’ Fees are Similarly Excluded

       Plaintiff also purports to assert a claim against the City under the MTCA for “attorneys’

fees.” See Exhibit “D,” p. 17. This same statute (Miss. Code Ann. § 11-46-15(2)), though,

similarly holds that “[n]o judgment against a governmental entity or its employee for any act or

omission for which immunity is waived under this chapter shall include an award for ….

attorney’s fees unless attorney’s fees are specifically authorized by law.” Miss. Code Ann. §

11-46-15(2) (emphasis added). There is no such separate provision in Mississippi law

authorizing attorney’s fees in these circumstances. Consequently, Plaintiff’s attempt to pursue a

claim for relief for “attorney’s fees” under the MTCA, too, must be dismissed.



                                        III. CONCLUSION

       For each and all of the above stated reasons, it is submitted that the Court issue an Order

granting the City’s “Motion for Summary Judgment” in its entirety and that the Court issue an

Order dismissing Plaintiff’s claims against it with prejudice. It is further requested that this

Honorable Court grant this Defendant all other relief, equitable or otherwise, as this Honorable



                                                 12
  Case 1:21-cv-00217-HSO-BWR            Document 250         Filed 02/28/25   Page 13 of 14




Court may find appropriate or to which it may be entitled.

       RESPECTFULLY SUBMITTED, this the 28th day of February, 2025.


                                             CITY OF GULFPORT, MISSISSIPPI,
                                             DEFENDANT


                                             By: s/ Jeffrey S. Bruni, Esq.           .
                                                JEFFREY S. BRUNI, ESQ.
                                                Attorney for Movant
                                                MS Bar License No. 9573


JEFFREY S. BRUNI, ESQ.
POST OFFICE BOX 1780
GULFPORT, MISSISSIPPI 39502
TELEPHONE: (228) 868-5811
FACSIMILE: (228) 868-5795




                                               13
  Case 1:21-cv-00217-HSO-BWR             Document 250        Filed 02/28/25      Page 14 of 14




                                 CERTIFICATE OF SERVICE

       I, Jeffrey S. Bruni, Esq., Attorney for the Movant, do hereby certify that I have on this

date had electronically filed the above and foregoing document with the Clerk of the Court using

the ECF/MEC system, which should send notification of such filing to the following as well as

all counsel of record who have made an appearance in this matter:

       Antonio M. Romanucci
       Bhavani K. Raveendran
       Samantha Harton
       ROMANUCCI & BLANDIN, LLC
       321 North Clark Street, Suite 900
       Chicago, Illinois 60654

       Courtney Sanders
       COXWELL & ASSOCIATES, PLLC
       Post Office box 1337
       Jackson, Mississippi 39215


       William E. Whitfield, III
       Kaara L. Lind
       COPELAND, COOK, TAYLOR & BUSH, P.A.
       Centennial Plaza
       200 East Beach Boulevard, Building #5
       Gulfport, Mississippi 39507
       This the 28th day of February, 2025.


                                                 s/ Jeffrey S. Bruni                 _
                                                 JEFFREY S. BRUNI

JEFFREY S. BRUNI, ESQ.
POST OFFICE BOX 1780
GULFPORT, MISSISSIPPI 39502
TELEPHONE: (228) 868-5811
FACSIMILE: (228) 868-5795




                                                14
